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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                                CASE NO. 3:09cr13 LAC

MARVIN WAYNE JACKSON

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on May 21, 2009
Motion/Pleadings: NOTICE OF POTENTIAL CONFLICT AND REQUEST FOR GARCIA
HEARING
Filed by GOVERNMENT                   on 5/19/09    Doc.# 102

RESPONSES:
                                               on                    Doc.#
                                               on                    Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration     of   the    foregoing,      it   is   ORDERED    this   4th   day   of
June, 2009, that:
(a) The relief requested is DENIED as moot.
(b)




                                                               s/L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
